          Case 3:18-cv-07818-JD Document 166 Filed 09/01/21 Page 1 of 1




September 1, 2021

VIA CM/ECF
The Hon. James Donato
U.S. District Court for the Northern District of California
San Francisco Courthouse
450 Golden Gate Avenue
San Francisco, CA 94102

Re: Pars Equality Center v. Pompeo, No. 18-cv-7818-JD

Dear Judge Donato:

        Plaintiffs in the Pars matter respectfully submit this letter to provide the Court with a full
status update for plaintiffs in this matter.

         Defendants’ status report, (Emami ECF 187), submitted yesterday did not address the
status of all plaintiffs in this matter. As to Organizational Plaintiff Pars Equality Center,
Plaintiffs include with this letter a declaration detailing the current harms to the Organization and
its clients notwithstanding the Muslim Ban’s rescission. The attached declaration was prepared
to support Plaintiffs’ fully drafted brief in support of a motion for summary judgment that will be
filed as soon as this matter is no longer stayed. As detailed in the Declaration, Pars Equality
Center is experiencing ongoing harms and impacts as it continues to expend resources on clients
of the organization who did not receive visas and waivers. As indicated in the attached
declaration, the Organization’s status regarding the unlawful waiver promulgation remains
virtually identical to its status prior to the Ban’s rescission.


                                                       Respectfully submitted,

                                                       /s/ Max S. Wolson
                                                       Max S. Wolson
                                                       National Immigration Law Center
                                                       P.O. Box 34573
                                                       Washington, D.C. 20043
                                                       Tel: (202) 216-0261
                                                       Fax: (202) 216-0266
                                                       Email: Wolson@NILC.org
                                                       Attorney for Pars Plaintiffs
